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          EXHIBIT
             B
Case No. 1:23-cv-00440-RM-MDB Document 1-2 filed 02/16/23 USDC Colorado pg 2 of 52




                                                                                       PILED IN
      □FORM 1.2. DISTRICT COURT CIVIL (CV) CASE COVER SJJ~,J;OR Il'f{TIAL .
      PLEADING OF COMPLAINT, COUNTERCLAIM, CROSS-CLAVf~R lr:iJtRp ~~ljifY
      COMPLAINT AND JURY DEMAND

       District Court----------.,-,,-~~ County, Colorado
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       Attorney or Pa)i)S Wjthout ~Jtorney (J>l9m~ Address):                    Case Number:
                    t/a~ C/t~u.1-J~P~:;;-Jg; .
      Phone Number9(C,-:3~t1-l:2'o/'f)
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                                               Atty. Reg. #:

           DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
                                       COMPLAINT,
                 COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY COMPLAINT
                                    AND JURY DEMAND

      1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
         claim or third party complaint in every district court civil (CV) case. It shall not be filed in
         Domestic Relations (DR), Probate (PR),, Juvenile (JA, JR, JD, JV), or Mental Health (MH)
         cases or in Water (CW) proceedings subject to sections 37-92-302 to 37-92-305, C.R.S. Failure
         to file this cover sheet is not a jurisdictional defect in the pleading but may result in a clerk's
         show cause order requiring its filing.

      2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below if
         this party asserts that C.R.C.P. 16.1 does not apply):

         D This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
              expedited proceeding, or

         ITT'his party is seeking a monetary judgment against another party of more than $100,000.00,
            exclusive of interest and costs, as supported by the following certification:

                  By my signature below and in compliance with C.R.C.P. 11, based upon infonnation
                  reasonably available to me at this time, I certify that the value of this party's claims
                  against one of the other parties is reasonably believed to exceed $100,000.

         Or



     JDF 601SC R3-22 DISTRICT COURT CIVIL (CV) CASE COVER SHEET        Page 1 of 2
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           D Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
           to this case.

      3.   D This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P. 38.
           (Checking this box is optional.)


                                                            ·gnature of Party


      Date: - - - - - - -
                                                         Signature of Attorney for Party (if any) _ _ __

      NOTICE
      This cover sheet must be served on all other parties along with the initial pleading of a
      complaint, counterclaim, cross-claim, or third party complaint.




     JDF 601SC R3-22 DISTRICT COURT CIVIL (CV) CASE COVER SHEET          Page 2 of 2
Case No. 1:23-cv-00440-RM-MDB Document 1-2 filed 02/16/23 USDC Colorado pg 4 of 52




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       V.




                                                                                  Case   ~~e\f l(J~
                                                                                  Division:   i...lo3 Courtroom: 4£ii>
                                        DISTRICT COURT CIVIL SUMMONS




     YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an answer or other response to
     the attached Complaint. If service of the Summons and Complaint was made upon you within the State of
     Colorado, you are required to file your answer or other response within 21 days after such service upon you. If
     service of the Summons and Complaint was made upon you outside of the State of Colorado, you are required to
     file your answer or other response within 35 days after such service upon you. Your answer or counterclaim must
     be accompanied with the applicable filing fee.


     If you fail to file your answer or other response to the Complaint in writing within th       ·      · e period, the
     Court may enter judgment by default against you for the relief demanded in              I             rther notice.




     This Summons is issued pursuant to Rule 4, C.R.C.P., as amended. A copy of the Complaint must be
     served with this Summons. This form should not be ·used where service by publication is desired.

     WARNING: A valid summons may be issued by a lawyer and it need not contain a court case number, the
     signature of a court officer, or a court seal. The plaintiff has 14 days from the date this summons was served on
     you to file the case with the court. You are responsible for contacting the court to find out whether the case has
     been filed and obtain the case number. If the plaintiff files the case within this time, then you must respond as
     explained in this summons. If the plaintiff files more than 14 days after the date the summons was served on you,
     the case may be dismissed upon motion and you may be entitled to seek attorney's fees from the plaintiff.

     TO THE CLERK: If the summons is issued by the clerk of the court, the signature block for the clerk or deputy
     should be provided by stamp, or typewriter, in the space to the left of the attorney's name.

     JDF 600 R10-13   DISTRICT COURT CIVIL SUMMONS
Case No. 1:23-cv-00440-RM-MDB Document 1-2 filed 02/16/23 USDC Colorado pg 5 of 52




       A~rney_ or PartY Without Attorney: (Name & Address)    •      COURT USE ONLY   _.
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Case No. 1:23-cv-00440-RM-MDB Document 1-2 filed 02/16/23 USDC Colorado pg 6 of 52




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                 J3 0 8 a rfli{ MWL, PIP.6l!&v 1 (n 8f<OO~




      Attorney or Party Without Att~rney: (Name & Address)                                                                        ~       COURT USE ONLY
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   Date: _ _ _ _ _ _ _ __
                                                       Signature of O Petitioner/Plaintiff


                                                       Address


                                                       City, State, Zip Code


                                                       Telephone Number
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      P-Dn~ PPn~
      - VALERIE HARRIS
           PO BOX 72, B-OONE. CO 8102500n
                                                      DATE 06/01/22

       . :-·e·. - TRUUCITY 4.5MG/0.5Ml SDP 05Ml                                  !!!!!!!!
            MFG LIUY
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           INJECT 4.5 MG UNDER                                                           ;

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       nd toe and metatarsal head, ray amputation:·
 . ,, :zing soft tissue Infection of dorsal toe and plantar ulceration;
!~Vidence of osteomyelitis involving metatar$al he~d.;
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        Sh                                                                                                                         r
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    .Despite its cheery cartoon scrub brush mm;ic ··.

   •,
        Scrubbing Bubbles bathroom and showef ·                     ''1,   I                                                                              •.':       '   '




   . cleaners should do anything but bring a s                                                                l   •,,,\




    ·. t{) your eco-loving (~~~i.,:J,:;hese products . · ..
 \ ':,',i>.."',',,: ',. _·,.       ,.,                                         : ,;<i,>1,''i,',.'i;,_,,\'.,':',/·:,:,,_,,·,, ,   , '   ,              ,          "
  :/contain chemicals biit:tlµ,~tt,Jn the Euro .•'
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                                                 Scrubbing B1Jbbles® .
                                                    Disinfectant
                                                 Restroom Clea:ner If
                                                   We Work Hard So You
                                                     Don't Have To!®

                                           • Kills viruses similar to SARS-CoV-2
                                             Coronavirus)A* on hard, non-porous

                                           • When used as directed kills
                                             and bacteria* on hard, nor1-nc,rn1
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        Know your environment.
        Protect your health.
ewg


                 Scrubbing Bubbles Antibacterial Bathroom Cleaner I FreshCle~n
                                                                        . , ,




                See: I   c~~~~a~~~~:e Bath.~]            [~rand: Scrubbing Bub,,;    J
Asthma/Respiratory                                                              · ): .

Skin Allergies &
Irritation




Cancer


Environment

How does it rate: Scores for similar cleaners ranged from VERIFIEC:>to F. Searchfor:~; better Gen
Bathroom Cleaner

Top Scoring Factors: Regulatory violation; May contain ingredients with poter:itial for respiratory eff~cts;'gf
systemic/organ effects; developmental/endocrine/reproductive effects                                 · · ·


      Ingredient Disclosure: poor          Green Certified: [ NO ]


  Product ingredients
 Known Ingredients

Ingredient                            Health, Environment,
                                      and Disclosure Con.cfirhs


ALKYL DIMETHYL BENZYL
AMMONIUM CHLORIDES
(C12-16)
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·----   (/)
                                                                                                                                      --
                                                                                          (tel:+18559651688)

   0 Dangerous ~leaning Products
 Home (https://www.hwnn.com) » 10 Dangerous Cleaning Products

 April 5, 2021


                                                                                                                               _..,

                                                                                                                                      r
                                                                                            ONLINE NOW
Cleaning is essential to protecting our health ln our homes, schools, and workplaces. However, cleaning products-incluc               <
 soaps, polishes, and grooming supplies-often include harmful chemicals.                                                              m
  ,.                                      .
                                               ,                                              Hi! A live, real person is available
                                                                                      . (0 24/7 at no o~ligation.                     n
                                                                                                                                      J:
Its important to read labels and avoid dangerous products (https://www.hwnn.com/b1r~-9ham/defect1ve-product-

 lawyer/) or take precautions if you must use them.
                                                                                                                                      ~

10 Dangerous Cleaning Products
You likely have many of these 10 dangerous cleaning products (https://www.rd.com/) in your home:

                                                                                                      Start Chat
1. Conventional All-Purpose Cleaners
 Many cleaners used for stuck-on messes and grease contain glycol ethers, a type of petrochemicals. Glycol ethers can enter

 the bloodstream through inhalation or through the skin, even if you're wearing gloves.
                                                                  I

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       _1Jfain CJeaners

     Drain M~aners contain sodium hydroxide, a toxic and highly corrosive chemical also known as lye. If it touches ye .......m .. 7 o ~
                                                                                             (tel:+18559651688)
                                                                                                                                                                         -
     gets in your eyes, it can cause severe burns.


     If a child swallows a drain cleaner, it qrn damage the stomach and esophagus. The child could need surgery or even die.

    Alternative: Use a mechanical "snake" tool to unclog drains.

    5. Toilet Cleaners
    Products such as Lysol Power Toilet Bowl Cleaner Complete Clean© contain hydrochloric acid, which can burn your eyr:£.                                                            1
                                                                                                                                                                                 l1
                                                                                                                                                                                 .1I

    and skin. Mixing products that contain chlorine with products that contain acids can produc@lhlb.:k!W:J=dMf:0Wne gas.                                                        i Ii
                                                                                                                                                                          n
    Alternatives: Select a cleaner without hydrochloric acid. You can also use vinegar to help keep your toilet clean.                                                    <
                                                                                                                                                                          m
                                                                                                                                      Hi! A live, real person is available ( )

    6. Oven Cleaners                                                                                                     (8 24/7 at no obligation.                        J:
                                                                                                                         ~-                                               ~
                                                                                                                                                                          ~
    Oven cleaners contain highly concentrated lye, which is very corrosive. It can burn your skin and eyes and is toxic if
    swallowed.


    Alternative: Use baking soda paste.


~ 7. Scrubbing Bubbles©                                                                                                                         Start Chat

    Scrubbing Bubbles© is effective for killing bacteria. But the alkyl dimethyl benzyl ammonium chlorides lD_!:his product cao__,
                                                                                 ,.••                         •   ,u•-    • ..   ~-"::.-=------""-~~




   cause· respiratory problems. Another ingredient, butoxydiglycol is banned in the EU at concentrations over three percent
   ~                 - ~ ~ - ? ...,___...,____-------~------------·---------··--- --------- -·-- - --· - - - - · - - - - - - - - - - - - - - - - - - - • - - ~---- .

   because of its impact on the lungs.
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 ~,~,g~r 'review· cot1tained lung-harming ingredients>tn: · '
:{:::·•ff-known carcinogens like formaldehyde and 'chl~r~Q:;.;,'.                                                1:;.


 ·were found in several cleaners. Here is a list of dange.to~:{):;::
· · :deaning products found in most homes.                                                   ·           · · ,, .•.•.•
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                                                  1. Scrubbing Bubbles - .        /\(:;::
                                                  Anti bacteria I Bathroom: Clea~~;;:,;;
                                                  & Extend-A-Clean Mega                              sh~£~
                                                  Foamer (Banned Abroad)' ::;:::::i:'.·:f){J:::i
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                                                                                                                                          Mail Station No.         048
                                                                                                                                          1525 Howe Street
                                                                                                                                          Racine, Wisconsin 53403-9986




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      THO~I..\S P. SCHL'LT
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      KIRK A. PETERS01"                                 2600 GR-\\'D BOl'LE\'ARD • Sl'ITE !200                 JENNIFER 8 \l'IELA~0
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      JEFFREY D. MORRIS                                    KANSAS CITYi MISSOl'Rl 64108
                                                                                                                MEGAS D. COSTELLO
     STEPHEN M. BLEDSOE                                      TELEPHONE: (816) 561-7007                         Tl~I0TH\' D. W..\LL1\'ER
     ANTHo~·y J. DLRONE
                                                             FACSl!\IILE: (816) 561-1888                       CARSON M. HINDERKS
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      STACEY R. GIL"..\~                                                                                      BE>-:J ..\IIIN 8. D0SO\'..\N
   KATHLEEI\ M. NE"ECHEK                                                                                         BL.\KE P. SAFFELS
        NICK .I. KL'RT                                                                                           ll'ILL1t1:,1 L. HL'PP




  Thomas P. Schult
  tsch ult@berkowitzoliver.com
  Direct Dial: (816) 627-0239


                                                                  September 14, 2022

  VIA E-MAIL AND U.S. MAIL

  Ms. Valerie Harris-Pantaleo
  P.O. Box 72
  Boone. Colorado 81025

                             Re:      Your Claim/or Compensation

  Dear Ms. Harris-Pantaleo:

          SC Johnson has asked me to respond to your letter of August 23. 2022, relating to your
  claim for compensation that \Vas denied by SC Johnson in July 2021.

          Thank you for confirming that when you \\Tote your letter you were not represented by
  an attorney. It would not be appropriate for me to communicate directly with you if you ha\·e an
  attorney. If since the date of your letter you have hired a lawyer to fmiher prosecute your claim,
  please take this letter to her or him.

           SC Johnson denied your claim because the injuries you described would not occur if you
  came in contact with the product while using it to clean your shower. As SC Jolmson explained
  in its denial letter, the formula of the Scrubbing BubblesR product does not cause injury ,vhen the
  product is used as intended. This popular product is used millions of times each year without
  incident.

          Before denying the claim. SC Johnson·s Consumer Relationship Center representati\'es
  working with you asked you to provide medical records and information to suppo1i your
  allegations. The information you provided ,vas carefully analyzed and did not supp01i that the
  product caused your injuries.




 '.'.600 Grand Boulevcrd Sui!e 1200   !':1.r.s2s City, MO 6°108      816   56',   7007   816   56'1   1888
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                                              LLP
  Ms. Valerie Harris-Pantaleo
  September 14, 2022
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          So that you can decide \vhether to pursue legal action against SC Johnson. YVe want to be
  clear that SC Johnson stands by its denial of your claim.

        Although your claim \:Vas denied. SC Johnson and its CRC representatives \:Vho have
  worked \\'ith you hope you are continuing to reco\'er from the injury you sustained in December
  2020,

                                               Sincerelv.


                                               \\t{~
                                               Thomas P. Schult

  TPS/sal
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                                 Valerie Harris <valharris456@gmail.com>
   ,~~t; ..                      Monday, October 03, 2022 3:04 PM
   +ir::                         va1harris456@gmail.com; Jeggering23@gmail.com; CSR
>:su~J.~ct: ·.                   Fwd: Your Inquiry About Scrubbing Bubbles® BathroomCleanerr-1,~,.,"'"
                                 020383087H




  S.erit from    my iPh011e
  Begin forwarded message:

            From: Valerie Harris <valharris456@gmai1.com>
            Date: October 3, 2022 at 2:35:24 PM MDT
            To: valharris456@gmail.com
            Subject: Fwd: Your Inquiry About Scrubbing Bubbles® Bathroom Clea
           Ref#020383087H                                                         .



           Sent from my iPhone
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